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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

   BRANDON L. BAGGETT and
   CHRISTINA M. BAGGETT,
        Plaintiffs,                                    Case No.: 8:13-cv-1466-EAK-TGW


          vs.

   STONELEIGH RECOVERY ASSOCIATES, LLC,
        Defendant.
                               /

                  Plaintiff’s Notice of Voluntary Dismissal with Prejudice

          COMES NOW the Plaintiffs, BRANDON L. BAGGETT and CHRISTINA M.
   BAGGETT, through and by their undersigned attorney, voluntarily discontinue the above
   entitled action and dismiss the Complaint with prejudice.


   Dated: August 7, 2013                               Respectfully submitted,


                                                        s/ G. Donald Golden
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